     Case 2:18-cv-01896-WBS-EFB Document 34 Filed 09/14/18 Page 1 of 3
     OIN
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 4
     Attorney for Plaintiff,
 5   MICHAEL B. CORTEZ
     ANTOINETTE A. CORTEZ
 6

 7
                                UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     MICHAEL CORTEZ, an individual; and               Case No.: 2:18-cv-01896-WBS-EFB
11   ANTOINETTE CORTEZ, an individual;
                                                      STIPULATION FOR WITHDRAWAL
12                 Plaintiff,                         OF MOTION FOR PRELIMINARY
                                                      INJUNCTION; [PROPOSED] ORDER
13          v.
                                                      Date: September 17, 2018
14   SECOND CHANCE HOME LOANS, LLC, a                 Time: 1:30 pm
     business entity; ALLIED SERVICING                Ctrm: 5
15   CORPORATION, a business entity; PNC
     BANK, NATIONAL ASSOCIATION, a
16   business entity; and DOES 1-50, inclusive

17               Defendant

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                                  STIPULATION FOR WITHDRAWAL OF MOTION
     Case 2:18-cv-01896-WBS-EFB Document 34 Filed 09/14/18 Page 2 of 3

 1           STIPULATION FOR WITHDRAWAL OF PLAINTIFFS’ MOTION FOR

 2                                 PRELIMINARY INJUNCTION

 3          Plaintiffs MICHAEL CORTEZ and ANTIONETTE CORTEZ and Defendants PNC

 4   BANK, NATIONAL ASSOCIATION, SECOND CHANCE HOME LOANS, LLC and ALLIED

 5   SERVICING CORPORATION (the “Parties”) hereby stipulate by and through their respective

 6   attorneys of record, that Plaintiffs’ Motion for a Preliminary Injunction, which is currently

 7   scheduled to be heard by this Court on September 17, 2018 be withdrawn and taken off calendar.

 8
     SO STIPULATED.
 9
10                                              WOLFE & WYMAN LLP
     DATED: September 13, 2018
11
                                                By: /s/ Joshua M. Bryan
12                                                   STUART B. WOLFE
                                                     JOSHUA M. BRYAN
13                                              Attorneys for Defendants
                                                PNC BANK, N.A.
14

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16
     DATED: September 13, 2018                  SCHEER LAW GROUP, LLP
17

18
                                                By: /s/ Jonathan Seigel
19                                                   JONATHAN SEIGEL
                                                Attorneys for Defendants
20                                              SECOND CHANCE HOME LOANS, LLC
                                                and ALLIED SERVICE CORPORATION
21

22
     DATED: September 13, 2018                  SHAPERO LAW FIRM
23

24
                                                By: /s/ Sarah Shapero
25                                                   SARAH SHAPERO
                                                Attorneys for Plaintiffs
26                                              MICHAEL B. CORTEZ and ANTONIETTE
                                                A. CORTEZ
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                                                   2
                                   STIPULATION FOR WITHDRAWAL OF MOTION
     Case 2:18-cv-01896-WBS-EFB Document 34 Filed 09/14/18 Page 3 of 3

 1                                               ORDER

 2          Based upon the joint stipulation of Plaintiffs MICHAEL CORTEZ and ANTIONETTE

 3   CORTEZ and Defendants’ PNC BANK, NATIONAL ASSOCIATION, SECOND CHANCE

 4   HOME LOANS, LLC and ALLIED SERVICING CORPORATION (the “Parties”), and good

 5   cause appearing, the Court orders that Plaintiffs’ Motion for a Preliminary Injunction, which was

 6   scheduled to be heard by this Court on September 17, 2018 is hereby withdrawn and off calendar.

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     Dated: September 13, 2018
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                                   STIPULATION FOR WITHDRAWAL OF MOTION
